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 8                      IN THE UNITED STATES DISTRICT COURT
 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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12   NANCY BINNELL, on behalf of herself CCase No: 8:20-cv-00447-DOC-(ADSx)
     and all others similarly situated,
13                                         The Honorable David O. Carter
                  Plaintiff,
14
           v.                                      ORDER RE STIPULATION TO
15                                                 DISMISS CASE PURSUANT TO
     ST. JOSEPH HOSPITAL ORANGE, ST.               RULE 41(a) [43]
16   JOSEPH HEALTH, PARATUS
     PARTNERS LLP, and Does 1-10,
17   inclusive,
                  Defendants.                      Action Filed:      March 4, 2020
18
19
20         Pursuant to the stipulation of the parties and for good cause, the Court dismisses
21   the action pursuant to Rule 41(a) against all Defendants.
22         IT IS SO ORDERED.
23
            July 7
     Dated: ___________, 2021
24
                                            DAVID O. CARTER
25                                          UNITED STATES DISTRICT JUDGE
26
27
28

     ORDER RE STIPULATION TO DISMISS CASE PURSUANT TO RULE 41(a)
     Case No.: 8:20-cv-00447-DOC-(ADSx)
